 Fill in this information to identify your case:

  Debtor 1                   Douglas               J                    Craig
                             First Name            Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name          Last Name

  United States Bankruptcy Court for the:                          Western District of Texas

  Case number                           18-10857                                                                                      ✔ Check if this is an
                                                                                                                                      ❑
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.



 Part 1: Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
         Debtor 1:                                                Dates Debtor 1 lived      Debtor 2:                                           Dates Debtor 2 lived
                                                                  there                                                                         there


                                                                                           ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                                 From                                                                          From
       Number       Street                                                                     Number   Street
                                                                 To                                                                            To



       City                               State ZIP Code                                       City                      State ZIP Code




                                                                                           ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                                 From                                                                          From
       Number       Street                                                                     Number   Street
                                                                 To                                                                            To



       City                               State ZIP Code                                       City                      State ZIP Code




 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states and territories
    include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 1
 Debtor 1             Douglas               J                        Craig                                             Case number (if known) 18-10857
                      First Name             Middle Name             Last Name




 Part 2: Explain the Sources of Your Income



 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                     Debtor 1                                                    Debtor 2

                                                     Sources of income             Gross Income                  Sources of income            Gross Income
                                                     Check all that apply.         (before deductions and        Check all that apply.        (before deductions and
                                                                                   exclusions)                                                exclusions)


     From January 1 of current year until the       ❑ Wages, commissions,                                       ❑ Wages, commissions,
     date you filed for bankruptcy:                     bonuses, tips                                               bonuses, tips
                                                    ❑Operating a business                                       ❑Operating a business

     For last calendar year:                        ❑ Wages, commissions,                                       ❑ Wages, commissions,
     (January 1 to December 31, 2017         )          bonuses, tips                                               bonuses, tips
                                      YYYY          ❑Operating a business                                       ❑Operating a business

     For the calendar year before that:             ❑ Wages, commissions,                                       ❑ Wages, commissions,
     (January 1 to December 31, 2016         )          bonuses, tips                                               bonuses, tips
                                      YYYY          ❑Operating a business                                       ❑Operating a business

 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
    payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
    have income that you received together, list it only once under Debtor 1.
    List each source and the gross income from each source separately. Do not include income that you listed in line 4.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

                                                     Debtor 1                                                    Debtor 2

                                                     Sources of income             Gross income from each        Sources of income            Gross Income from each
                                                     Describe below.               source                        Describe below.              csoure
                                                                                   (before deductions and                                     (before deductions and
                                                                                   exclusions)                                                exclusions)


     From January 1 of current year until the
     date you filed for bankruptcy:




     For last calendar year:
     (January 1 to December 31, 2017         )
                                      YYYY




     For the calendar year before that:
     (January 1 to December 31, 2016         )
                                      YYYY




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
 Debtor 1              Douglas                 J                         Craig                                            Case number (if known) 18-10857
                       First Name              Middle Name               Last Name




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy

 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔No. Go to line 7.
               ❑
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.



                                                                  Dates of            Total amount paid            Amount you still owe         Was this payment for…
                                                                  payment

                                                                                                                                               ❑Mortgage
                Creditor's Name                                                                                                                ❑Car
                                                                                                                                               ❑Credit card
                Number      Street                                                                                                             ❑Loan repayment
                                                                                                                                               ❑Suppliers or vendors
                                                                                                                                               ❑Other
                City                   State       ZIP Code


                                                                                                                                               ❑Mortgage
                Creditor's Name                                                                                                                ❑Car
                                                                                                                                               ❑Credit card
                Number      Street                                                                                                             ❑Loan repayment
                                                                                                                                               ❑Suppliers or vendors
                                                                                                                                               ❑Other
                City                   State       ZIP Code


 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
    officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
    proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.


                                                              Dates of           Total amount paid      Amount you still owe         Reason for this payment
                                                              payment




Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
 Debtor 1             Douglas                J                        Craig                                              Case number (if known) 18-10857
                      First Name             Middle Name               Last Name




     Insider's Name


     Number      Street




     City                        State    ZIP Code




     Insider's Name


     Number      Street




     City                        State    ZIP Code



 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
    Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.


                                                           Dates of             Total amount paid       Amount you still owe      Reason for this payment
                                                           payment                                                               Include creditor’s name



     Insider's Name


     Number      Street




     City                        State    ZIP Code




     Insider's Name


     Number      Street




     City                        State    ZIP Code



 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
    disputes.

    ✔ No
    ❑
    ❑Yes. Fill in the details.


Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 4
 Debtor 1            Douglas                J                      Craig                                           Case number (if known) 18-10857
                     First Name             Middle Name             Last Name


                                                  Nature of the case                         Court or agency                                 Status of the case

     Case title                                                                                                                             ❑Pending
                                                                                            Court Name                                      ❑On appeal
                                                                                                                                            ❑Concluded
                                                                                            Number       Street
     Case number

                                                                                            City                     State       ZIP Code


     Case title                                                                                                                             ❑Pending
                                                                                            Court Name                                      ❑On appeal
                                                                                                                                            ❑Concluded
                                                                                            Number       Street
     Case number

                                                                                            City                     State       ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     ✔No. Go to line 11.
     ❑
     ❑Yes. Fill in the information below.


                                                                  Describe the property                                 Date                 Value of the property



            Creditor’s Name


            Number     Street                                     Explain what happened

                                                                 ❑Property was repossessed.
                                                                 ❑Property was foreclosed.
                                                                 ❑Property was garnished.
            City                       State     ZIP Code        ❑Property was attached, seized, or levied.
                                                                  Describe the property                                 Date                 Value of the property



            Creditor’s Name


            Number     Street                                     Explain what happened

                                                                 ❑Property was repossessed.
                                                                 ❑Property was foreclosed.
                                                                 ❑Property was garnished.
            City                       State     ZIP Code        ❑Property was attached, seized, or levied.

 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse to
     make a payment because you owed a debt?

     ✔ No
     ❑
     ❑Yes. Fill in the details.




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 Debtor 1              Douglas                 J                        Craig                                         Case number (if known) 18-10857
                       First Name              Middle Name               Last Name


                                                                 Describe the action the creditor took                      Date action was   Amount
                                                                                                                            taken
       Creditor’s Name


       Number        Street




                                                                Last 4 digits of account number: XXXX–
       City                          State     ZIP Code



 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed receiver,
     a custodian, or another official?

     ✔ No
     ❑
     ❑Yes

 Part 5: List Certain Gifts and Contributions



 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per           Describe the gifts                                        Dates you gave      Value
       person                                                                                                             the gifts



      Person to Whom You Gave the Gift




      Number        Street



      City                            State    ZIP Code

      Person’s relationship to you

       Gifts with a total value of more than $600 per           Describe the gifts                                        Dates you gave      Value
       person                                                                                                             the gifts



      Person to Whom You Gave the Gift




      Number        Street



      City                            State    ZIP Code

      Person’s relationship to you


 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     ✔ No
     ❑
     ❑Yes. Fill in the details for each gift or contribution.

Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 6
 Debtor 1             Douglas              J                         Craig                                          Case number (if known) 18-10857
                      First Name             Middle Name             Last Name


        Gifts or contributions to charities that     Describe what you contributed                                  Date you              Value
        total more than $600                                                                                        contributed



       Charity’s Name




       Number       Street



       City                   State   ZIP Code



 Part 6: List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

     ❑No
     ✔Yes. Fill in the details.
     ❑

        Describe the property you lost and         Describe any insurance coverage for the loss                     Date of your loss     Value of property lost
        how the loss occurred                     Include the amount that insurance has paid. List pending
                                                  insurance claims on line 33 of Schedule A/B: Property.
       Flood damage to house from broken         Insurance is covered the remediation and renovation of the
       water pipe on second floor of house       damaged portions of the house                                     06/08/2018                         $20,000.00



 Part 7: List Certain Payments or Transfers


 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about seeking
     bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     ❑No
     ✔Yes. Fill in the details.
     ❑
                                                     Description and value of any property transferred              Date payment or       Amount of payment
        Law Office of Glen L. Work, PLLC                                                                            transfer was made
       Person Who Was Paid                          Attorney’s Fee
                                                                                                                    Jun 22, 2018                       $1,000.00
        Po Box 1966
       Number       Street




        Round Rock, TX 78680-1966
       City                   State   ZIP Code
        glen@glworklaw.com
       Email or website address


       Person Who Made the Payment, if Not You




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 Debtor 1             Douglas              J                       Craig                                           Case number (if known) 18-10857
                      First Name           Middle Name             Last Name


                                                   Description and value of any property transferred               Date payment or         Amount of payment
                                                                                                                   transfer was made
        Person Who Was Paid


        Number      Street




        City                   State   ZIP Code


        Email or website address


        Person Who Made the Payment, if Not You



17.   Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
      deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                   Description and value of any property transferred               Date payment or         Amount of payment
                                                                                                                   transfer was made
        Person Who Was Paid



        Number      Street




        City                   State   ZIP Code


18.   Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the ordinary
      course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                   Description and value of property            Describe any property or payments received      Date transfer was
                                                   transferred                                  or debts paid in exchange                       made

        Person Who Received Transfer


        Number      Street




        City                   State   ZIP Code

        Person's relationship to you




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 Debtor 1              Douglas               J                        Craig                                              Case number (if known) 18-10857
                       First Name            Middle Name               Last Name




        Person Who Received Transfer


       Number       Street




       City                    State   ZIP Code

       Person's relationship to you

 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
     often called asset-protection devices.)
     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                     Description and value of the property transferred                                                  Date transfer was
                                                                                                                                                        made


       Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
     transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
     funds, cooperatives, associations, and other financial institutions.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                      Last 4 digits of account number            Type of account or          Date account was             Last balance
                                                                                                 instrument                  closed, sold, moved, or      before closing or
                                                                                                                             transferred                  transfer

       Name of Financial Institution
                                                      XXXX–                                    ❑Checking
                                                                                               ❑Savings
       Number       Street
                                                                                               ❑Money market
                                                                                               ❑Brokerage
                                                                                               ❑Other
       City                   State    ZIP Code


       Name of Financial Institution
                                                      XXXX–                                    ❑Checking
                                                                                               ❑Savings
       Number       Street
                                                                                               ❑Money market
                                                                                               ❑Brokerage
                                                                                               ❑Other
       City                   State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other valuables?

     ✔ No
     ❑
     ❑Yes. Fill in the details.


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 Debtor 1             Douglas                J                         Craig                                               Case number (if known) 18-10857
                      First Name             Middle Name                Last Name


                                                        Who else had access to it?                        Describe the contents                             Do you still have
                                                                                                                                                            it?

                                                                                                                                                           ❑No
       Name of Financial Institution                   Name
                                                                                                                                                           ❑Yes

       Number       Street                             Number       Street



                                                       City                    State   ZIP Code

       City                    State   ZIP Code

 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                        Who else has or had access to it?                 Describe the contents                             Do you still have
                                                                                                                                                            it?

                                                                                                                                                           ❑No
       Name of Storage Facility                        Name
                                                                                                                                                           ❑Yes

       Number       Street                             Number       Street



                                                       City                    State   ZIP Code

       City                    State   ZIP Code

 Part 9: Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                        Where is the property?                            Describe the property                             Value


       Owner's Name
                                                       Number       Street


       Number       Street

                                                       City                    State   ZIP Code


       City                    State   ZIP Code


 Part 10: Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
     or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
     wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
     including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
     contaminant, or similar term.
 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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 Debtor 1               Douglas                J                         Craig                                              Case number (if known) 18-10857
                        First Name             Middle Name               Last Name



 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                         Governmental unit                           Environmental law, if you know it                  Date of notice


        Name of site                                   Governmental unit



        Number       Street                            Number       Street


                                                       City                  State   ZIP Code


        City                    State    ZIP Code


25.   Have you notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                         Governmental unit                           Environmental law, if you know it                  Date of notice


        Name of site                                   Governmental unit



        Number       Street                            Number       Street


                                                       City                  State   ZIP Code


        City                    State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                         Court or agency                             Nature of the case                                 Status of the case


        Case title
                                                       Court Name
                                                                                                                                                       ❑Pending
                                                                                                                                                       ❑On appeal
                                                                                                                                                       ❑Concluded
                                                       Number       Street


        Case number
                                                       City                  State   ZIP Code


 Part 11: Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
            ❑ A partner in a partnership
            ❑ An officer, director, or managing executive of a corporation
            ❑ An owner of at least 5% of the voting or equity securities of a corporation
      ✔No. None of the above applies. Go to Part 12.
      ❑
      ❑Yes. Check all that apply above and fill in the details below for each business.


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 Debtor 1             Douglas                J                          Craig                                                Case number (if known) 18-10857
                      First Name              Middle Name               Last Name


                                                        Describe the nature of the business                          Employer Identification number
                                                                                                                     Do not include Social Security number or ITIN.
        Name
                                                                                                                      EIN:           –

        Number      Street
                                                        Name of accountant or bookkeeper                             Dates business existed

                                                                                                                      From                    To

        City                   State    ZIP Code

                                                        Describe the nature of the business                          Employer Identification number
                                                                                                                     Do not include Social Security number or ITIN.
        Name
                                                                                                                      EIN:           –

        Number      Street
                                                        Name of accountant or bookkeeper                             Dates business existed

                                                                                                                      From                    To

        City                   State    ZIP Code

                                                        Describe the nature of the business                          Employer Identification number
                                                                                                                     Do not include Social Security number or ITIN.
        Name
                                                                                                                      EIN:           –

        Number      Street
                                                        Name of accountant or bookkeeper                             Dates business existed

                                                                                                                      From                    To

        City                   State    ZIP Code

 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors, or other
     parties.

     ✔ No
     ❑
     ❑Yes. Fill in the details below.
                                                        Date issued



        Name                                           MM / DD / YYYY



        Number      Street




        City                   State    ZIP Code


 Part 12: Sign Below




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 Debtor 1           Douglas              J                       Craig                                           Case number (if known) 18-10857
                    First Name            Middle Name             Last Name



    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
    correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
    can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



    ✘                      /s/ Douglas J Craig                        ✘
        Signature of Douglas J Craig, Debtor 1                            Signature of


         Date 08/03/2018                                                  Date




    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
    ❑Yes. Name of person                                                                      .       Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                      Declaration, and Signature (Official Form 119).




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